                                                                                                       Electronically Filed - Jackson - Kansas City - July 30, 2018 - 09:15 PM
                                                                                1816-CV19883

   IN THE 16TH JUDICIAL CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                            AT KANSAS CITY

 MCKENZI TAYLOR, individually and
 on behalf of all others similarly situated,

                           Plaintiff,                  Case No.:

 vs.

 KC VIN, LLC                                           Division:
 d/b/a PIZZA BAR
 Serve at Registered Agent:
     CSC-Lawyers Incorporating Service
     Company                                           JURY TRIAL DEMANDED
     221 Bolivar Street
     Jefferson City, MO 65101

                           Defendant.


                    CLASS ACTION PETITION FOR DAMAGES {X1}

       Plaintiff McKenzi Taylor, individually and on behalf of all others similarly situated, brings

this action against Defendants KC VIN, LLC d/b/a Pizza Bar (“Pizza Bar”) to secure redress for

Pizza Bar’s practice of sending text messages to cellular telephone numbers in violation of the

Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, et seq. Plaintiff, for her class

action Petition, alleges as follows based upon personal knowledge as to herself and her own acts

and experiences, and as to all other matters, upon information and belief, including investigation

conducted by counsel:

                              PARTIES, JURISDICTION, AND VENUE

       1.      At all times relevant hereto, Plaintiff Taylor has been a resident of Jackson County,

Missouri.

       2.      Defendant Pizza Bar is foreign limited-liability company registered to conduct

business in Missouri, with a business location of 1320 Grand Blvd., Kansas City, MO 64106.




        Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 1 of 33                    A
                                                                                                            Electronically Filed - Jackson - Kansas City - July 30, 2018 - 09:15 PM
        3.      Defendant Pizza Bar can be served through its registered agent CSC-Lawyers

Incorporating Service Company, 221 Bolivar Street, Jefferson City, Missouri 65101.

        4.      Pursuant to RSMo § 506.500, jurisdiction is proper in this Court because

Defendants have transacted business in Jackson County, Missouri and/or because the tortious acts

complained of in this Petition occurred in Jackson County, Missouri.

        5.      Pursuant to RSMo § 508.010, venue is proper in this Court because the tortious acts

complained of herein arose and took place within Jackson County, Missouri, the transactions at

issue or some part of the transactions took place within Jackson County, Missouri, and/or Plaintiff

was first injured in Jackson County, Missouri.

        6.      Further, jurisdiction and venue are proper pursuant to 47 U.S.C. § 227(b)(3), which

grants state courts jurisdiction over actions alleging violations of 47 U.S.C § 227. On information

and belief, Pizza Bar has sent the same or similar text messages complained of by Plaintiff to others

within this judicial district, such that a substantial portion of the events giving rise to this cause of

action occurred here.

        7.      In addition, Pizza Bar also transacts significant amounts of business within this

district, solicits customers here, directs telephone calls and text messages here – including to the

cellular telephone numbers of Plaintiff and others with area codes specific to Jackson County,

Missouri, 1 and enters into consumer and business contracts here, thereby subjecting it to the

jurisdiction of this Court.




1
        See Lowe v. CVS Pharmacy, Inc., 233 F. Supp. 3d 636, 643 (N.D. Ill. 2017) (placing a call to a
        phone number with an Illinois-affiliated area code constitutes “purposeful direction” warranting
        the Court’s exercise of jurisdiction) (citing Keim v. ADF Midatlantic, 199 F. Supp. 3d 1362, 1370
        (S.D. Fl. 2016) (collecting cases)).


                                                   2
         Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 2 of 33
                                                                                                        Electronically Filed - Jackson - Kansas City - July 30, 2018 - 09:15 PM
                                     NATURE OF THE ACTION

       8.      Pizza Bar is a drinking establishment.

       9.      Between July 30, 2014 and April 4, 2018, in order to advertise and market its

products and services, to increase revenue, to expand its customer base, and to pursue other

marketing objections, Pizza Bar caused advertising and/or telemarketing text messages to be sent

to the cellular telephones of Plaintiff and the putative class members in violation of the TCPA.

       10.     Specifically, Pizza Bar (either directly or through a third-party telemarketer) sent

unsolicited text messages to the cellular telephones of Plaintiff and the putative class members

promoting specials and events at the Pizza Bar and encouraging Plaintiff and the putative class

members to visit Pizza Bar with their friends or associates.

       11.     By sending the text messages at issue in this Petition, Pizza Bar has caused Plaintiff

and the putative class members (as defined herein) actual harm.

       12.     On information and belief, Pizza Bar routinely sends these text messages despite

the fact that Plaintiff and the putative class members:

               (a)     never provided prior express consent in writing, or otherwise, for Pizza Bar

                       to send advertising or telemarketing text messages to their cellular

                       telephone numbers; and/or

               (b)     never provided prior express consent in writing, or otherwise, for Pizza Bar

                       to send text messages to their cellular telephone numbers using an automatic

                       telephone dialing system (as defined by the TCPA).

       13.     Pizza Bar also sent such advertising and/or telemarketing text messages to Plaintiff

and other putative class members even though it failed to establish written policies and procedures

to ensure compliance with the national and/or internal do-not-call rules and regulations, and train



                                                 3
        Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 3 of 33
                                                                                                         Electronically Filed - Jackson - Kansas City - July 30, 2018 - 09:15 PM
its staff in compliance with such policies and procedures.

       14.     Plaintiff, on her own behalf and on behalf of all others similarly situated, brings the

instant lawsuit seeking an injunction requiring Pizza Bar to cease all unsolicited text message

activities and for an award of statutory damages to Plaintiff and members of the putative class

under the TCPA.

                    THE TELEPHONE CONSUMER PROTECTION ACT OF 1991
                                47 U.S.C. § 227, et seq.

       15.     Advancements in telephone dialing technology since the 1980s and 90s have made

reaching a large number of consumers by telephone easier and more cost-effective. However, this

technology has also brought with it an onslaught of unsolicited robocalls, spam text messages, and

junk faxes that intrude on individual privacy and waste consumer time and money.

       16.     Senator Hollings, sponsor of the TCPA, described such marketing practices as “the

scourge of modern civilization, they wake us up in the morning; they interrupt our dinner at night;

they force the sick and elderly out of bed; they hound us until we want to rip the telephone out of

the wall.” 137 Cong. Rec. 30, 821 (1990).

       17.     The FCC recently noted, “every month, U.S. consumers are bombarded by an

estimated 2.4 billion robocalls.” In the Matter of Advanced Methods to Target and Eliminate

Unlawful Robocalls, Notice of Proposed Rulemaking, Statement of Chairman Pai, 32 FCC Rcd.

2306, 2331 (2017) (emphasis added). That number has since increased to an estimated 2.5 billion

robocalls per month as of October 2017.2

       18.     In response to these unwanted telephone calls, text messages, and junk faxes, the



2
       See In the Matter of Advanced Methods to Target and Eliminate Unlawful Robocalls, Report and
       Order and Further Notice of Proposed Rulemaking, Statements of Commissioners Clyburn and
       Rosenworcel, 32 FCC Rcd. 9706, 9756 & 9759 (2017).


                                                 4
        Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 4 of 33
                                                                                                             Electronically Filed - Jackson - Kansas City - July 30, 2018 - 09:15 PM
federal government and numerous states have enacted legislation to combat these widespread

telemarketing abuses. As Congress recognized:

               Many customers are outraged over the proliferation of intrusive,
               nuisance calls to their homes from telemarketers. … Banning such
               automated or prerecorded telephone calls to the home, except when
               the receiving party consents to receiving the call or when such calls
               are necessary in an emergency situation affecting the health and
               safety of the consumer, is the only effective means of protecting
               telephone consumers from this nuisance and privacy invasion.

Pub. L. No. 102-243 §§ 2(6) & (12) (1991), codified at 47 U.S.C. § 227 (emphasis added).3

       19.     As is relevant here, the TCPA prohibits “mak[ing] any call (other than a call made

for emergency purposes or made with the prior express consent of the called party) using any

automatic telephone dialing system or an artificial or prerecorded voice … to any telephone

number assigned to a … cellular telephone service, …” 47 U.S.C. § 227(b)(1)(A)(iii); 47 C.F.R.

§ 64.1200(a)(1).

       20.     For purposes of the TCPA, “[a] text message to a cellular telephone … qualif[ies]

as a ‘call’ within the compass of § 227(b)(1)(A)(iii).” Campbell-Ewald Co. v. Gomez, 136 S. Ct.

663, 667 (2016) (citation omitted).4

       21.     “Automatic telephone dialing system” (“ATDS”) refers to any equipment that has

the “capacity to dial numbers without human intervention[.]” Griffith v. Consumer Portfolio Serv.,

Inc., 838 F. Supp. 2d 723, 726 (N.D. Ill. 2011) (citing In re Rules & Regulations Implementing the



3
       See also Zean v. Fairview Health Servs., 858 F.3d 520, 522-23 (8th Cir. 2017) (“Recognizing that
       automated calls are often a nuisance and an invasion of privacy, Congress passed the TCPA to
       balance individuals’ privacy rights, public safety interests, and commercial freedoms of speech and
       trade.”) (internal citations and quotation marks omitted).
4
       See also In re Rules and Regulations Implementing the Telephone Consumer Protection Act of
       1991, Order, 30 FCC Rcd. 12484, 12485, ¶ 3 (2016) (the TCPA’s prohibition on robocalls
       “encompasses both voice and text calls, including short message service (SMS) calls and text calls
       and text calls made using Internet-to-phone technology, …”).


                                                   5
        Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 5 of 33
                                                                                                     Electronically Filed - Jackson - Kansas City - July 30, 2018 - 09:15 PM
TCPA of 1991, 18 FCC Rcd. 14014, 14092, ¶ 132 (2003) (“2003 TCPA Order”)).

       22.     In 2012, the FCC – the agency tasked with promulgating the implementing

regulations of the TCPA – revised its TCPA rules to require prior express written consent before

initiating a telephone call “that includes or introduces an advertisement or constitutes

telemarketing[.]” 47 C.F.R. § 64.1200(a)(2); In re Joint Petition filed by Dish Network, LLC, 28

FCC Rcd. 6574, 6589, ¶ 37 & fn. 113 (2013) (“Dish Network Ruling”).

       23.     According to FCC regulations, “prior express consent” must (i) be in writing; (ii)

be signed by the person providing the consent; (iii) clearly authorize the calling party to use an

ATDS or artificial or pre-recorded voice; (iv) specify the telephone number to which the person is

consenting to be called; and (v) not be a condition of purchasing any goods or services. In the

Matter of Rules and Regulations Implementing the TCPA of 1991, FCC Report and Order, 27 FCC

Rcd. 1830, 1843, ¶ 32 (2012) (“2012 TCPA Order”).

       24.     In 2003, the FCC adopted a national do-not-call registry to provide consumers with

an option to prohibit unwanted telemarketing solicitations. 2003 TCPA Order at 14034-35, ¶ 28.

       25.     The FCC rules also prohibit any person or entity from initiating a telemarketing

solicitation to any “residential telephone subscriber who has registered her or her telephone

number on the national do-not-call registry of persons who do not wish to receive telephone

solicitations that is maintained by the Federal Government.” 47 C.F.R. § 64.1200(c)(2). For

purposes of this provision of the TCPA, wireless subscribers who are registered on the national

do-not-call list are presumed to be “residential subscribers.” 2003 TCPA Order at 14038-39, ¶ 36.

       26.     The FCC rules also require telemarketers to maintain a company-specific internal

do-not-call list, to immediately record a consumer’s do-not-call request, and to cease any further

telemarketing calls within thirty days of such request. 47 C.F.R. § 64.1200(d)(3).



                                                6
        Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 6 of 33
                                                                                                        Electronically Filed - Jackson - Kansas City - July 30, 2018 - 09:15 PM
          27.   The FCC’s regulations define “advertisement” as “any material advertising the

commercial availability or quality of any property, goods, or services.” 47 C.F.R. § 64.1200(f)(1).

Whether a call is an “advertisement” depends on the content of the material. Golan v. Veritas

Entm't, LLC, 788 F.3d 814, 820 (8th Cir. 2015).

          28.   “Telemarketing” is defined as “the initiation of a telephone call or message for the

purpose of encouraging the purchase or rental of, or investment in, property, goods, or services,

which is transmitted to any person.” 47 C.F.R. § 64.1200(f)(12). The “telemarketing” inquiry

focuses on the purpose of the telephone call or message, rather than its content. Golan, 788 F.3d

at 820.

          29.   The FCC has also made rulings regarding the TCPA’s vicarious liability standards

as they relate to telemarketing. As early as 1995, the FCC stated that “[c]alls placed by an agent

of the telemarketer are treated as if the telemarketer itself placed the call.” In re Rules and

Regulations Implementing the TCPA of 1991, 10 FCC Rcd. 12391, 12397 (1995).

          30.   The FCC has also clarified that vicarious liability is imposed under federal common

law principles of agency for violations of either sections 227(b) or (c) that are committed by third-

party telemarketers. Dish Network Ruling at 6580 & ¶ 18.

          31.   The TCPA provides for injunctive relief and the greater of actual damages or $500

per violation, which may be trebled where defendant’s conduct was done willfully or knowingly.

47 U.S.C. §§ 227(b)(3) and (c)(5).

                       FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

          32.   Between July 30, 2014 and April 4, 2018, Pizza Bar and/or its agents utilized an

ATDS to send text messages to the wireless telephone numbers of Plaintiff and the putative class

members.



                                                  7
          Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 7 of 33
                                                                                                          Electronically Filed - Jackson - Kansas City - July 30, 2018 - 09:15 PM
       33.     Specifically, the hardware and software used by Pizza Bar and/or its agents has the

capacity to generate and store random numbers, or store lists of telephone numbers, and to dial

those numbers, en masse, in an automated fashion without human intervention.

       34.     Plaintiff and the putative class never provided prior express consent, in writing or

otherwise, for Pizza Bar to send autodialed, advertising, and/or telemarketing text messages to

their cellular telephone numbers.

       35.     Pizza Bar (i) requires consumers or businesses to provide their telephone numbers

as a condition of providing goods and services, (ii) does not advise consumers or businesses it

intends to send autodialed, advertising, and/or telemarketing text messages to their cellular

telephone number, and (iii) does not obtain prior express consent, written or otherwise, to send

autodialed, advertising, and/or telemarketing text messages to the consumer’s or business’s

cellular telephone number.

       36.     When Pizza Bar obtains the cellular telephone number of a consumer or business,

it adds it to a stored list of numbers to which Pizza Bar and/or its agents repeatedly send autodialed,

advertising, and/or telemarketing text messages.

       37.     Pizza Bar’s text messages are sent with equipment having the capacity to dial

numbers without human intervention, the equipment is unattended by human beings, and the

equipment does, in fact, send text messages automatically, i.e., without human intervention.

       38.     The equipment employed by Pizza Bar and/or its agents not only has the capacity

to store or produce telephone numbers to be called using a random or sequential number generator

(and to dial such numbers) but was programmed to sequentially or randomly access stored

telephone numbers to automatically send text messages to those numbers.

       39.     The text messages sent by Pizza Bar to Plaintiff and the putative class were made



                                                  8
        Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 8 of 33
                                                                                                              Electronically Filed - Jackson - Kansas City - July 30, 2018 - 09:15 PM
for a commercial purpose in that they contain its brand name and location, they promote specials

and events at Pizza Bar, and/or they encourage Plaintiff and the putative class members to visit

Pizza Bar with their friends or associates.

       40.     Pizza Bar’s text messages are advertisements and/or constitute telemarketing as

defined by the TCPA.

       41.     Not only does Pizza Bar fail to obtain prior express consent before sending such

text messages, Pizza Bar’s text messages do not provide a way of opting out of future text

messages.

       42.     Pizza Bar’s text messages do not sufficiently identify the name of the individual

caller, and do not provide a (working) telephone number5 or address at which the person or entity

may be contacted.

       43.     Pizza Bar sent such advertising and/or telemarketing text messages without first

establishing written policies or procedures to ensure compliance with the national and/or internal

do-not-call rules and regulations, as required by 47 C.F.R. § 64.1200(d), and Pizza Bar failed to

train its staff in compliance with any such policies and procedures.6

       44.     On information and belief, many of Pizza Bar’s text messages were sent within 12

months of one or more prior text messages, and Pizza Bar lacks an adequate system for preventing

the transmission of numerous automated text messages to the same telephone number.


5
       Pizza Bar’s text messages do not provide a telephone number, toll-free or otherwise, for consumers
       and businesses to call in order to opt out of future text messages. Additionally, if you call the
       telephone number Pizza Bar used to text Plaintiff’s cellular telephone number, you are greeted with
       repeated beeping tones, indicating that the phone line is no longer in service.
6
       On May 21, 2018, Plaintiff requested that Pizza Bar provide her attorneys with a copy of any written
       policies and procedures that Pizza Bar had established and implemented and/or instituted as of (1)
       August 1, 2014, (2) February 13, 2018, and (3) April 4, 2018, to ensure compliance with the TCPA,
       but Defendant did not respond to Plaintiff’s request.



                                                    9
        Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 9 of 33
                                                                                                              Electronically Filed - Jackson - Kansas City - July 30, 2018 - 09:15 PM
       45.     Pizza Bar is aware that the above-described text messages are being sent to

consumers and businesses without their prior express consent, but Pizza Bar willfully continues to

send them anyways.

       46.     Plaintiff and the putative class members have been substantially damaged by Pizza

Bar’s repeated text messages7 – their privacy was invaded; they were annoyed and inconvenienced;

the repeated text messages intruded upon their seclusion and interfered with the exclusive use of

their property; they were charged out of pocket cellular airtime minutes for the text messages and

cellular data for services related to the text message content;8 the ATDS calls intruded upon and

occupied the capacity of the cellular phones of Plaintiff and the class members, depleted and/or

reduced the lifespan of their cellular phone batteries, 9 caused Plaintiff and the class members to

incur the costs of electricity to recharge their phones;10 and, on information and belief, Pizza Bar’s




7
       See Van Patten v. Vertical Fitness Group, LLC, 847 F.3d 1037, 1043 (9th Cir. 2017) (allegations of
       “[u]nsolicited phone calls or text messages … invade the privacy and disturb the solitude of their
       recipients” and are sufficient to confer Article III standing); Susinno v. Work Out World Inc., 862
       F.3d 346 (3rd Cir. 2017) (same); Williams v. zZounds Music, L.L.C., No. 16-cv-940 (W.D. Mo.
       Feb. 28, 2017) (same) (citing Van Patten); Hunsinger v. Gordmans, Inc., No. 16-cv-162, 2016 WL
       7048895 (E.D. Mo. Dec. 5, 2016) (same).
8
       See In re Rules Implementing the Tel. Consumer Prot. Act of 1991, 23 FCC Red. 559, 562, ¶ 7
       (2008) (“wireless customers are charged for incoming calls whether they pay in advance or after
       the minutes are used.”); see also Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637 (7th Cir.
       2012) (recipients are damaged because they are charged “out of pocket” cellular airtime minutes);
       Lee v. Credit Mgmt., LP, 846 F. Supp. 2d 716, 729 (S.D. Tx. 2012) (Plaintiff’s statement that he
       pays a third-party provider for cellular phone services is sufficient to show that an individual was
       charged for the calls); Warnick v. Dish Network LLC, No. 12-cv-01952 (D. Co. Sep. 30, 2014)
       (“users of cellular telephone numbers are indeed charged for incoming calls, regardless of whether
       they incur any additional charges for such calls.”).
9
       See e.g., Apple Inc., Battery Servicing and Recycling, http://www.apple.com/batteries/service-and-
       recycling (“All rechargeable batteries have a limited lifespan … Your own battery’s lifespan will
       vary depending on how you use your device …”).
10
       See Mey v. Got Warranty, supra fn. 2, 193 F. Supp. 3d at 645-47 (Intangible harms include
       “intrusion upon and occupation of the plaintiff’s cell phone. … [and] intrusion upon another
       person’s computerized electronic equipment …” Tangible harms, including the cost of electricity,
       “[w]hile certainly small, [are] real, and the cumulative effect could be consequential.”).


                                                   10
        Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 10 of 33
                                                                                                       Electronically Filed - Jackson - Kansas City - July 30, 2018 - 09:15 PM
repeated text messages have caused unwanted use, damage and/or depletion of their property,

including, but not limited to, a reduction in the lifespan of their LCD screens, speakers, vibration

motors, and other hardware and/or electronic components.

                    FACTUAL ALLEGATIONS SPECIFIC TO PLAINTIFF TAYLOR

       47.     At all times relevant hereto, Plaintiff Taylor has paid a third-party provider for

cellular telephone service and cellular data service on her personal cellular telephone, which has

an area code specific to western Missouri, ending in “5335”.

       48.     Plaintiff Taylor never provided Pizza Bar with prior express consent, written or

otherwise, to send autodialed, advertising, and/or telemarketing text messages to her cellular

telephone number.

       49.     On multiple occasions, Pizza Bar and/or its agents caused a promotional text

message to be sent, automatically and without human intervention, to Plaintiff’s cell phone. The

text messages contained Pizza Bar’s brand name and location, promoted specials and events at

Pizza Bar, and/or encouraged Plaintiff to visit Pizza Bar with her friends or associates.

       50.     The text messages sent by Pizza Bar to Plaintiff were made for a commercial

purpose and are advertisements and/or constitute telemarketing as defined by the TCPA.

       51.     Pizza Bar did not provide Plaintiff and the class members with notice that it

intended to send autodialed, advertising, and/or telemarketing text messages to their cellular

telephone numbers; and Plaintiff and the class members never provided express consent in writing,

or otherwise, for Pizza Bar to send such text messages to their cell phones.

                                  CLASS ACTION ALLEGATIONS

       52.     Plaintiff restates and incorporates by reference all paragraphs of this Petition,

including all subparagraphs thereof.



                                                11
       Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 11 of 33
                                                                                                       Electronically Filed - Jackson - Kansas City - July 30, 2018 - 09:15 PM
       53.     As to Count I for violation of the TPCA (the “227(b)(1)(A)(iii) Class”), Plaintiff

brings this action on behalf of herself and on behalf of a putative class defined as:

               All persons and entities within the United States to whom Pizza Bar
               (or a third party on Pizza Bar’s behalf) sent a text message to their
               cellular or wireless telephone, promoting special pricing or events
               at Pizza Bar, between July 30, 2014 and April 4, 2018.

       54.     As to Count II for violation of the TPCA (the “64.1200(d) Class”), Plaintiff brings

this action on behalf of herself and on behalf of a putative class defined as:

               All persons within the United States to whom, between July 30,
               2014 and April 4, 2018, Pizza Bar (or a third party on Pizza Bar’s
               behalf) sent more than one text message promoting special pricing
               or events at Pizza Bar, within any twelve-month period.

       55.     Excluded from the above-defined classes are Pizza Bar, any entity in which Pizza

Bar has a controlling interest, Pizza Bar’s officers, directors, and employees, Pizza Bar’s counsel,

any persons or entities who have previously settled a TCPA claim with Pizza Bar, the Court and

Court personnel, and Plaintiff’s counsel.

       56.     Numerosity – Mo. R. Civ. P. 52.08(a)(1); Fed. R. Civ. P. 23(a)(1). Plaintiff does

not know how many members are in the putative class but believes them to be in the tens of

thousands, if not more. On information and belief, the number of class members is so numerous

that their individual joinder is impracticable. The precise number of putative class members and

their phone numbers can be obtained from information and records in the possession and control

of Pizza Bar or third parties acting on Pizza Bar’s behalf.

       57.     Existence and Predominance of Common Questions of Law and Fact – Mo. R.

Civ. P. 52.08(a)(2) & 52.08(b)(3); Fed. R. Civ. P. 23(a)(2) & 23(b)(3). Common questions of

law or fact exist as to all members within the putative class and predominate over any questions

solely affecting any individual member. The predominating common legal and factual questions,



                                                 12
        Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 12 of 33
                                                                                                        Electronically Filed - Jackson - Kansas City - July 30, 2018 - 09:15 PM
each of which may also be certified under Mo. R. Civ. P. 52.08(c)(4) or Fed. R. Civ. P. 23(c)(4),

include the following:

              (a)        Whether Pizza Bar and/or its agents used an automatic telephone dialing

                         system to send text messages;

              (b)        Whether the equipment used by Pizza Bar, or a third party on Pizza Bar’s

                         behalf, has the capacity to send text messages automatically, i.e., without

                         human intervention;

              (c)        Whether Pizza Bar’s text messages are advertisements;

              (d)        Whether Pizza Bar’s text messages constitute telemarketing;

              (e)        Whether Pizza Bar requires its customers provide their telephone numbers

                         as a condition of providing goods and services;

              (f)        Whether Pizza Bar advised Plaintiff and the class members that it intended

                         to send autodialed, advertising, and/or telemarketing text messages to their

                         cellular telephone numbers;

              (g)        Whether Pizza Bar obtained the prior express consent, written or otherwise,

                         to send autodialed, advertising, and/or telemarketing text messages to the

                         cellular telephone numbers of Plaintiff and the class members;

              (h)        Whether Pizza Bar’s text messages were sent for an emergency purpose;

              (i)        Whether Pizza Bar’s text messages were sent willfully or knowingly;

              (j)        Whether PBR (i) established and implemented written procedures to

                         comply with the internal do-not-call rules; (ii) trained its personnel in

                         procedures established pursuant to the internal do-not-call rules; (iii)

                         maintained an internal list of telephone numbers PBR may not contact; (iv)



                                                  13
       Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 13 of 33
                                                                                                         Electronically Filed - Jackson - Kansas City - July 30, 2018 - 09:15 PM
                       employed a version of the internal do-not-call list containing numbers

                       updated no more than 30 days prior to the date any call is made, and (v)

                       maintained records documenting this process; and/or

               (k)     Whether, and to what extent, class members are entitled to equitable relief,

                       including declaratory relief, a preliminary injunction, and/or permanent

                       injunction.

       58.     Typicality – Mo. R. Civ. P. 52.08(a)(3); Fed. R. Civ. P. 23(a)(3). Plaintiff’s

claims are typical of the claims of the putative classes she seeks to represent. The factual and legal

bases of Pizza Bar’s liability to Plaintiff is the same for all putative class members: (i) Pizza Bar

violated the TCPA by using an automatic telephone dialing system to send text messages without

obtaining prior express written consent; (ii) Pizza Bar violated the TCPA by sending multiple

promotional text messages without complying with the requirements of 47 U.S.C. § 227(c) and 47

C.F.R. § 64.1200(d).

       59.     Adequacy of Representation – Mo. R. Civ. P. 52.08(a)(4); Fed. R. Civ. P.

23(a)(4). Plaintiff will fairly and adequately protect the interests of the putative class members.

Plaintiff has no interests that might conflict with the interests of the putative class members.

Plaintiff will pursue the claims vigorously, and Plaintiff has retained counsel competent and

experienced in TCPA class actions and complex litigation.

       60.     Superiority – Mo. R. Civ. P. 52.08(b)(3); Fed. R. Civ. P. 23(b)(3). A class action

is superior to all other available means for the fair and efficient adjudication of this controversy.

The damages or other financial detriment suffered by individual class members is small compared

with the burden and expense that would be entailed by individual litigation of their claims against

Pizza Bar. It would thus be virtually impossible for class members, on an individual basis, to



                                                 14
        Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 14 of 33
                                                                                                      Electronically Filed - Jackson - Kansas City - July 30, 2018 - 09:15 PM
obtain effective redress for the wrongs done to them. Furthermore, even if class members could

afford such individualized litigation, the court system could not. Individualized litigation would

create the danger of inconsistent or contradictory judgments arising from the same set of facts.

Individualized litigation would also increase the delay and expense to all parties and the court

system from the issues raised by this action. By contrast, the class action device provides the

benefits of adjudication of these issues in a single proceeding, economies of scale, and

comprehensive supervision by a single court, and presents no unusual management difficulties

under the circumstances here.

                                       COUNT I
                   VIOLATIONS OF THE TCPA: 47 U.S.C. § 227(b)(1)(A)(iii)

       61.     Plaintiff restates and incorporates by reference all paragraphs of this Petition,

including all subparagraphs thereof.

       62.     Pizza Bar and/or its agents employed an ATDS to send non-emergency text

messages, automatically and without human intervention, to the cellular or wireless telephones of

Plaintiff and the members of 227(b)(1)(A)(iii) Class.

       63.     Pizza Bar requested, and obtained, the cellular telephone numbers of Plaintiff and

many of the 227(b)(1)(A)(iii) Class members as a condition to providing its goods and services.

       64.     Pizza Bar never obtained prior express consent in writing, or otherwise, advising

Plaintiff or the members of the 227(b)(1)(A)(iii) Class that it intended to send autodialed,

advertising, and/or telemarketing text messages to their cellular or wireless telephones.

       65.     As a result of Pizza Bar’s conduct and pursuant to Section 227(b)(3) of the TCPA,

Plaintiff and the 227(b)(1)(A)(iii) Class were harmed and are entitled to a minimum of $500 in

damages for each unlawful text message.

       66.     Plaintiff and the 227(b)(1)(A)(iii) Class are also entitled to an injunction against


                                                15
       Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 15 of 33
                                                                                                       Electronically Filed - Jackson - Kansas City - July 30, 2018 - 09:15 PM
future calls. 47 U.S.C. § 227(b)(3).

         67.     Pizza Bar’s text messages were willful and knowing, in that Pizza Bar knew it was

obtaining and storing cellular telephone numbers and employing equipment that would send

autodialed, advertising, and/or telemarketing text messages to such numbers; Pizza Bar intended

that such equipment would in fact send automated text messages containing its brand name and

location, and promoting specials and events at Pizza Bar; and Pizza Bar knew that it had not

obtained prior express consent, in writing or otherwise, from Plaintiff or any of the putative class

members to send such text messages.

         68.     “Willful … means that the violator knew that he was doing the act in question. …

A violator need not know that her action or inaction constitutes a violation; ignorance of the law

is not a defense or mitigating circumstance.” In re Dynasty Mtg., L.L.C., 22 FCC Rcd. 9453, 9470

& fn. 86 (May 14, 2007) (citations omitted).

         69.     Accordingly, the Court should treble the amount of statutory damages available to

Plaintiff and the 227(b)(1)(A)(iii) Class and award $1,500 for each text message sent in violation

of the TCPA.

         WHEREFORE, Plaintiff, individually and on behalf the 227(b)(1)(A)(iii) Class, seeks

$1,500 per violation of the TCPA; a declaration that Pizza Bar’s telemarketing methods, acts and

practices herein violate the TCPA, 47 U.S.C. § 227, et seq.; an injunction prohibiting Pizza Bar

from continuing to engage in such unlawful methods, acts, and practices; and attorneys’ fees and

costs.

                                        COUNT II
               VIOLATIONS OF THE TCPA: 47 U.S.C. § 227(c); 47 C.F.R. § 64.1200(d)

         70.     Plaintiff restates and incorporates by reference all paragraphs of this Petition,

including all subparagraphs thereof.


                                                16
         Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 16 of 33
                                                                                                     Electronically Filed - Jackson - Kansas City - July 30, 2018 - 09:15 PM
       71.     Pizza Bar’s text messages were made for a commercial purpose, in that they contain

its brand name and location, they promote specials and events at Pizza Bar, and/or they encourage

Plaintiff and the putative class members to visit Pizza Bar with their friends or associates.

       72.     Pizza Bar sent more than one advertising and/or telemarketing text message within

any twelve-month period to Plaintiff and the 64.1200(d) Class even though Pizza Bar did not first

institute procedures for initiating telemarketing calls or text messages that meet (or exceed) the

following minimum standards:

               •       Written policies and procedures, available upon demand, for
                       maintaining a do-not-call list;

               •       Policies and procedures for the training of personnel engaged in any
                       aspect of telemarketing, on the existence and use of the do-not-call
                       list;

               •       Policies and procedures for the recording of any request not to
                       receive calls, at the time the request is made, including the
                       subscriber’s name, if provided, and telephone number, and honoring
                       any such requests within a reasonable time from the date such
                       request is made.

               •       Policies and procedures for employing a version of the internal do-
                       not-call list containing numbers updated no more than 30 days prior
                       to the date any call is made;

               •       Policies and procedures for providing the called party with the name
                       of the individual caller, the name of the person or entity on whose
                       behalf the call is being made, and a telephone number or address at
                       which the person or entity may be contacted; and

               •       Policies and procedures for maintaining records documenting this
                       process, for a period of not less than 5 years.

       73.     On information and belief, Pizza Bar is not a tax-exempt nonprofit organization and

is therefore required to comply with the minimum standards set forth in 47 C.F.R. § 64.1200(d).

See 47 C.F.R. § 64.1200(d)(7).

       74.     On May 21, 2018, Plaintiff demanded a copy of Pizza Bar’s written policies and


                                                 17
        Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 17 of 33
                                                                                                        Electronically Filed - Jackson - Kansas City - July 30, 2018 - 09:15 PM
procedures for ensuring compliance with the TCPA, but Defendant did not respond to Plaintiff’s

request.

        75.    On information and belief, Pizza Bar did not implement any of the minimum

standards required by 47 C.F.R. § 1200(d)(1)-(6).

        76.    Pizza Bar’s text messages do not sufficiently identify the name of the individual

caller, and do not provide a (working) telephone number or address at which the person or entity

may be contacted.

        77.    As a result of Pizza Bar’s conduct and pursuant to Section 227(c)(5) of the TCPA,

Plaintiff and the 64.1200(d) Class were harmed and are entitled to a minimum of $500 in damages

for each unlawful text message.

        78.    Plaintiff and the 64.1200(d) Class are also entitled to an injunction against future

calls. 47 U.S.C. § 227(c)(5).

        79.    Pizza Bar’s text messages were willful and knowing, in that Pizza Bar knew it was

sending advertising and/or telemarketing text messages to the cellular telephone numbers of

Plaintiff and the class members without first implementing procedures required by 47 C.F.R. §

64.1200(d), but Pizza Bar chose to send such text messages anyways.

        80.    “Willful … means that the violator knew that he was doing the act in question. …

A violator need not know that his action or inaction constitutes a violation; ignorance of the law is

not a defense or mitigating circumstance.” In re Dynasty Mtg., L.L.C., 22 FCC Rcd. 9453, 9470

& fn. 86 (May 14, 2007) (citations omitted).

        81.    Accordingly, the Court should treble the amount of statutory damages available to

Plaintiff and the 64.1200(d) Class and award $1,500 for each text message sent in violation of the

TCPA.



                                                 18
        Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 18 of 33
                                                                                                      Electronically Filed - Jackson - Kansas City - July 30, 2018 - 09:15 PM
       WHEREFORE, Plaintiff, individually and on behalf the 64.1200(d) Class, seeks $1,500

per violation of the TCPA; a declaration that Pizza Bar’s telemarketing methods, acts and practices

herein violate the TCPA, 47 U.S.C. § 227, et seq.; an injunction prohibiting Pizza Bar from

continuing to engage in such unlawful methods, acts, and practices; and attorneys’ fees and costs.

                                           JURY DEMAND

       Plaintiff demands a trial by jury of all claims that are so triable.


Dated: July 30, 2018                                   Respectfully submitted,

                                                        /s/ Bill Kenney
                                                       William C. Kenney Mo. Bar No. 63001
                                                       BILL KENNEY LAW FIRM, LLC
                                                       1100 Main Street, Suite 1800
                                                       Kansas City, MO 64105
                                                       Telephone: (816) 842-2455
                                                       Facsimile: (816) 474-8899
                                                       Email: bkenney@billkenneylaw.com

                                                       and

                                                       Ari N. Rodopoulos Mo. Bar No. 58777
                                                       WOOD LAW FIRM, LLC
                                                       1100 Main Street, Suite 1800
                                                       Kansas City, MO 64105-5171
                                                       T: (816) 256-3582
                                                       F: (816) 337-4243
                                                       Email: ari@woodlaw.com

                                                       Attorneys for Plaintiff and all others
                                                       similarly situated




                                                 19
       Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 19 of 33
                                                                                                                                              2/11/2019, 7:30 AM




                                                                                                    Search for Cases by:

Judicial Links   |   eFiling   |    Help    |   Contact Us    |   Print                                      GrantedPublicAccess    Logoff WJAMESFOLAND

                                   1816-CV19883 - MCKENZI TAYLOR V KC VIN, LLC (E-CASE)


                                      This information is provided as a service and is not considered an official court record.
Click here to eFile on Case                                       Sort Date Entries:          Descending             Display Options:
Click here to Respond to Selected Documents                                                Ascending


01/11/2019             Summons Issued-Circuit
                       Document ID: 19-SMCC-375, for KC VIN, LLC.

01/10/2019             Alias Summons Requested
                       Request for Alias Summons.
                          Filed By: WILLIAM CHARLES KENNEY
                          On Behalf Of: MCKENZI TAYLOR
                       Correspondence Sent
                       Letter to Attorney for New Alias Request

01/04/2019             Alias Summons Requested
                       Request for Alias Summons.
                          Filed By: WILLIAM CHARLES KENNEY
                          On Behalf Of: MCKENZI TAYLOR

12/31/2018             Judge Assigned
                       Transfer from Judge David M. Byrn, Division 3, to Judge John Torrence, Division 14, per Administrative Order
                       2018-147.

12/10/2018             Motion Denied
                         Associated Entries: 11/30/2018 - Motion for Continuance
                       Order
                       Order Upon Plaintiff's Motion for Continuance
                       Case Mgmt Conf Scheduled
                         Scheduled For: 03/06/2019; 8:30 AM ; JOHN M. TORRENCE; Jackson - Kansas City
                       Order After Case Mgmt Conf

12/06/2018             Case Mgmt Conf Held
                         Scheduled For: 12/06/2018; 1:30 PM ; DAVID MICHAEL BYRN; Jackson - Kansas City

11/30/2018             Motion for Continuance
                       Motion for Continuance of Case Management Conference; Proposed Order for Continuance of CMC.
                         Filed By: WILLIAM CHARLES KENNEY
                         On Behalf Of: MCKENZI TAYLOR
                         Associated Entries: 12/10/2018 - Motion Denied

08/06/2018             Correspondence Sent
                       Mailed Copy of Notice and Petition to Attorney General by First Class Mail on August 6, 2018
                       Summons Issued-Circuit


                     Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 20 of 33
                                                                                 1
                                                                                                                2/11/2019, 7:30 AM



                     Document ID: 18-SMCC-7988, for KC VIN, LLC.
                     Case Mgmt Conf Scheduled
                       Associated Entries: 12/06/2018 - Case Mgmt Conf Held
                       Scheduled For: 12/06/2018; 1:30 PM ; DAVID MICHAEL BYRN; Jackson - Kansas City
                     Hearing/Trial Cancelled
                       Scheduled For: 12/06/2018; 1:30 PM ; DAVID MICHAEL BYRN; Jackson - Kansas City
                     Hearing Scheduled
                       Associated Entries: 08/06/2018 - Hearing/Trial Cancelled
                       Scheduled For: 12/06/2018; 1:30 PM ; DAVID MICHAEL BYRN; Jackson - Kansas City

07/30/2018           Request for Jury Trial Filed
                       Filed By: WILLIAM CHARLES KENNEY
                     Judge Assigned
                     Filing Info Sheet eFiling
                         Filed By: WILLIAM CHARLES KENNEY
                     Summ Req-Circuit Pers Serv
                     Request for Service.
                       Filed By: WILLIAM CHARLES KENNEY
                     Pet Filed in Circuit Ct
                     Class Action Petition for Damages.
                        On Behalf Of: MCKENZI TAYLOR
Case.net Version 5.14.0.6                            Return to Top of Page                              Released 12/31/2018




                  Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 21 of 33
                                                              2
                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 19237414
Notice of Service of Process                                                                            Date Processed: 01/18/2019

Primary Contact:           Keith Hudolin
                           The Cordish Company
                           601 E Pratt St
                           Ste 600
                           Baltimore, MD 21202-3118

Electronic copy provided to:                   Allison Varlan
                                               Will Scrivener

Entity:                                       KC Vin, LLC
                                              Entity ID Number 2802013
Entity Served:                                KC Vin, LLC d/b/a Pizza Bar
Title of Action:                              McKenzi Taylor vs. KC Vin, LLC d/b/a Pizza Bar
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Class Action
Court/Agency:                                 Jackson County Circuit Court , MS
Case/Reference No:                            1816-CV19883
Jurisdiction Served:                          Missouri
Date Served on CSC:                           01/17/2019
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Bill Kenney
                                              816-842-2455

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com




                    Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 22 of 33
    °            IN T1=IE 16TH JUDICIAL CIRCi7IT COiT1tT, JACKSON COUNTY, NIISSOiJRI

 Judge or Division:                                                 Case Number: 1816-CV19883
 JOI IN M. TORRENCE                                                                                                    '
 Plaintiff/Petitioner:                                              Plaintiff s/Petitioner's Attomey/Address
 MCKENZI TAYLOR                                                     WILLIAM CIIARLES KENNEY
                                                                    1100 Main Street
                                                                    SUITE 1800
                                                              vs.   KANSAS CITY, MO 64105
 Defendant/Respondent:                                              Court Address:
 KC VIN, LLC                                                        415 E 12t1i
 DBA: PIZZA BAR                                                     KANSAS CITY, MO 64106
 Nature of Suit:
 CC Other Tort
                                                               Summons in Civil Case
        The State of Missouri to: KC VIN, LLC
                            DBA: PIZZA BAR
  R/A CSC-LAWYERS INC SERVICE CO
  221130L1VAR 3T
  JEFFERSON CITY, MO 65101

           COURT SEAL OF                     You are summoned to appear before this court and to file your pleading to the petition, a copy of
               ~    p~                 which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
            j G~R~'`~'~N               above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                       o               file your pleading, judgment by default may be taken agains       for thqrAlfief demanded in the petition.
                                                    11-JAN-2019
                                                        Date                                                     e Clerk
          JACIb40N COUNTY              Further Information:

                                                                 Sheriff s or Server's Return
        Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
        I certify that I have served the above summons by: (check one)
        ❑ delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
        ❑ leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                                                                    a person of the Defendant's/Respondent's family over the age of 15 years who
              permanently resides with the Defendant/Respondent.
        ❑ (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                                                                                 (name)
        ❑ other

     Served at                                                                                                                           (address)
     in                                         (County/City of St. Louis), MO, on                                (date) at                    (time).

                       Printed Name of Sheriff or Server                                               Signature of Sheriff or Server
                                     Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on                                                   (date).
              (Seal)
                                    My commission expires:
                                                                         Date                                    Notary Public
        Sheriff s Fees
        Summons                      $
        Non Est                      $
        Sheriffls Deputy Salary
        Supplemental Surcharge       $    10.00
        Mileage                      $                             miles @ $.       per mile)
        Total                        $
        A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
        suits, see Su reme Court Rule 54.



OSCA (7/2018) SM30 (JAKSMCC) For Court Use Only: Document Id # 19-SMCC-375 1 of 1Civi1 Procedure Form No. 1, Rules 54.01— 54.05,
                                                                                                    54.13, and 54.20; 506.120 — 506.140, and 506.150 RSMo
                       Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 23 of 33
                   SUMMONS/GARNISHMENT SERVICE PACKETS
                         ATTORNEY INFORMATION



Under the Missouri e-filing system now utilized by the 16ffi Judicial Circuit Court, once a case has been
accepted for filing, a clerk prepares the necessary documents for service. The summons/garnishment is
sent to the attorney by an e-mail containing a link so that the filer may print and deliver the
summons/garnishment, pleadings and any other necessary documents to the person designated to serve
the documents.

Pursuant to State statutes, Supreme Court Rules and Local Court Rules, attorneys are required to print,
attach and serve specific documents with certain types of Petitions and other filings.

Please refer to the Court's website for instructions on how to assemble the service packets at:

16thcircuit.org —> Electronic Filing Information --+ Required Documents for Service — eFiled cases -->
Summons/Garnishment Service Packet Information.

Please review this information periodically, as revisions are frequently made. Thank you.



                                                      Circuit Court of Jackson County




Revised 7/3/13            Service Information.- Attorney
          Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 24 of 33
                                                                               1816-CV19883

   IN THE 16TH JUDICIAL CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                            AT KANSAS CITY

MCKENZI TAYLOR, individually and
on behalf of all others similarly situated,

                           Plaintiff,                 Case No.:

vs.

KC VIN, LLC                                           Division:
d/b/a PIZZA BAR

                           Defendant.


                                 SERVICE INSTRUCTIONS

TO: CLERK OF THE COURT

       Plaintiff requests that the Clerk of the Court prepare a summons for Defendant in the above-

captioned cause of action, so that the Cole County Sheriff s Office can serve Defendant's

Registered Agent as follows:


       KC VIN, LLC
       R/A: CSC-Lawyers Incorporating Service Company
       221 Bolivar Street
       Jefferson City, MO 65101




      Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 25 of 33
Dated: July 30, 2018                              Respectfully submitted,

                                                   /s/ Bill Kenney
                                                  William C. Kenney Mo. Bar No. 63001
                                                  Bu,L KErrrrEY LAW FiRm, LLC
                                                  1100 Main Street, Suite 1800
                                                  Kansas City, MO 64105
                                                  Telephone: (816) 842-2455
                                                  Facsimile: (816) 474-8899
                                                  Email: bkenney@billkenneylaw.com

                                                  and

                                                  Ari N. Rodopoulos Mo. Bar No. 58777
                                                  WOOD Law FiRm, LLC
                                                  1100 Main Street, Suite 1800
                                                  Kansas City, MO 64105-5171
                                                  T: (816) 256-3582
                                                  F: (816) 337-4243
                                                  Email: ari@woodlaw.com

                                                   Attorneys for Plaintiff and all others
                                                   similarly situated


                               CERTIFICATE OF SERVICE

       I hereby certify that, on July 30, 2018, the foregoing document was electronically filed

with the Court's Electronic Filing System and will be served electronically on all registered

attorneys of record, with a copy to be served on Defendant's registered agent with the summons

and Petition.

                                                    /s/ Bill Kenney
                                                   William C. Kenney




                                              2

      Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 26 of 33
                 IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI


 Judge or Division:                                                   Case Number: 1816-CV19883
 DAVID MICIIAEL BYRN                                                                                                   -7
 Plaintiff/Petitioner:                                                Plaintiff's/Petitioner's Attorney/Address
 MCKENZI TAYLOR                                                       WILLIAM CIIARLES KENNEY
                                                                      1100 Main Street
                                                                      SUITE 1800
                                                                vs.   KANSAS CITY, MO 64105
 Defendant/Respondent:                                                Court Address:
 KC VIN, LLC                                                          415 E 12th
 DBA: PIZZA BAR                                                       KANSAS CITY, MO 64106
 Nature of Suit:
 CC Otlier Tort                                                                                                                           File
                                                                 Summons in Civil Case
      The State of IVIissouri to: KC VIN, LLC
                                  DBA: PIZZA BAR                                                 PRIVATE PROCESS SERVER
  R/A CSC-LAWYERS INC SERVICE CO
  221 130L1VAR ST
  JEFFERSON CITY, MO 65101

          COURTSEAL OF                         You are summoned to appear before this court and to file your pleading to the petition, a copy of
                O\.IRT p~                which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                         above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
           C)               o            file your pleading, judgment by default may be taken agains       for thqrAEef demanded in the petition.
                                                     06-AUG-2018
                `'A x                                     Date                                                     , Clerk
          JACKSON COUNTY                 Further Information:

                                                              Sheriff s or Server's Return
      Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
      I certify that I have served the above summons by: (check one)
      ❑ delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
      ❑ leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                                                                  a person of the Defendant's/Respondent's family over the age of 15 years who
           permanently resides with the Defendant/Respondent.
      ❑ (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                                                                                   (name)                                                        (title).
      ❑ other
     Served at                                                                                                                              (address)
     in                                           (County/City of St. Louis), MO, on                                (date) at                      (time).

                         Printed Name of Sheriff or Server                                               Signature of Sheriff or Server
                                       Must be sworn before a notary public if not served by an authorized officer:
                                       Subscribed and sworn to before me on                                              (date).
                (Seal)
                                      My commission expires:
                                                                                                                      Public
      Sheriff s Fees
      Summons                      $
      Non Est                      $
      Sheriff's Deputy Salary
      Supplemental Surcharge       $    10.00
      Mileage                      $                             miles @ $.       per mile)
      Total                        $
      A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
      suits, see Su reme Court Rule 54.



OSCA (7/2018) SM30 (JAKSMCC) For Court Use Only: Document Id # 18-SMCC-7988 1 of 1Civi1 Procedure Form No. 1, Rules 54.01— 54.05,
                                                                                                    54.13, and 54.20; 506.120 — 506.140, and 506.150 RSMo
                         Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 27 of 33
                   SUMMONS/GARNISHMENT SERVICE PACKETS
                         ATTORNEY INFORMATION



Under the Missouri e-filing system now utilized by the 16th Judicial Circuit Court, once a case has been
accepted for filing, a clerk prepares the necessary documents for service. The summons/garnishment is
sent to the attorney by an e-mail containing a link so that the filer may print and deliver the
summons/garnishment, pleadings and any other necessary documents to the person designated to serve
the documents.

Pursuant to State statutes, Supreme Court Rules and Local Court Rules, attorneys are required to print,
attach and serve specific documents with certain types of Petitions and other filings.

Please refer to the Court's website for instructions on how to assemble the service packets at:

16thcircuit.org --+ Electronic Filing Information —> Required Documents for Service — eFiled cases —~
Summons/Garnishment Service Packet Information.

Please review this information periodically, as revisions are frequently made. Thank you.



                                                      Circuit Court of Jackson County




Revised 7/3/13            Service Information - Attorney
         Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 28 of 33
   IN THE 16TH JUDICIAL CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                            AT KANSAS CITY

 MCKENZI TAYLOR, individually and
 on behalf of all others similarly situated,

                           Placintiff,               Case No.: 1816-CV19883

vs.
                                                    - Division: 14
 KC VIN, LLC
 d/b/a PIZZA BAR

                           Defendant.


                            REQUEST FOR ALIAS SUMMONS

TO: CLERK OF THE COURT

       Plaintiff requests that the Clerk of the Court issue an alias summons for Defendant in the

above-captioned cause of action, so that the Cole County Sheriff s Office can serve Defendant's

Registered Agent as follows:


       KANSAS CITY LIVE, LLC
       R/A: CSC-Lawyers Incorporating Service Company
       221 Bolivar Street
       Jefferson City, MO 65101




      Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 29 of 33
Dated: January 4, 2018                             Respectfully submitted,

                                                    /s/ Bill Kennev
                                                   William C. Kenney Mo. Bar No. 63001
                                                   BII,L KErrxEY LAw FmM, LLC
                                                   1100 Main Street, Suite 1800
                                                   Kansas City, MO 64105
                                                   Telephone: (816) 842-2455
                                                   Facsimile: (816) 474-8899
                                                   Email: bkenney@billkenneylaw.com
                                                    Attorneys for Plaintiff and all others
                                                    similarly situated


                               CERTIFICATE OF SERVICE

       I hereby certify that, on January 4, 2019, the foregoing document was electronically filed

with the Court's Electronic Filing System and will be served electronically on all registered

attorneys of record, with a copy to be served on Defendant's registered agent with the summons

and all pleadings.

                                                     /s/ Bill Kenney
                                                    William C. Kenney




                                               2

      Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 30 of 33
                         IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                                          ® AT KANSAS CITY       ❑ AT INDEPENDENCE

RE:   MCKENZI TAYLOR V KC VIN, LLC
CASE NO: 1816-CV19883

TO:     WILLIAM CHARLES KENNEY
        1100 Main Street
        SUITE 1800
        KANSAS CITY, MO 64105

We have received pleadings, which you submitted for filing in the case and they have been file-stamped on Januar,5r 4,
2019. However, your pleading cannot be processed further until the following action is taken:

RULE 3.2 - STYLE                                                        RULE 68.7 — VITAL STATISTICS REPORT
❑ Additional service instructions are needed.                           ❑ Need Certificate of dissolution of marriage form.
❑ Incorrect case number/filed in wrong county.
❑ Document is unreadable.                                               RULE 74.14 SUPREME CT — FOREIGN JUDGMENT
                                                                        ❑ Authentication of foreign judgment required.
RULE 4.2 (2)                                                            ❑ Affidavit pursuant to Supreme Court Rule 74.14
❑ Need Circuit Court Form 4
                                                                        RULE 54.12 SERVICE IN REM OR QUASI IN REM
RULE 5.6 — COLLECTIONS OF DEPOSIT                                       ACTIONS
❑ No fee, or incorrect fee, received; fee required is $                 ❑ Affidavit for Service by Publication required pursuant to
❑ Insufficient Filing Fee; Please Remit $                                  Supreme Court Rule 54.12c.
❑ No signature on check/form 1695.                                      ❑ Order for Service by Publication required pursuant to
❑ No request to proceed in forma pauperis.                                 Supreme Court Rule 54.12c.
❑ No personal checks accepted.                                          ❑ Notice for Service by Publication required pursuant to
                                                                           Supreme Court Rule 54.12c.
RULE 68.1                                                               ❑ Affidavit for Service by Certified/Registered Mail
❑ Need Circuit Court Form 17                                               pursuant to Supreme Court Rule 54.12b.

® OTHER: Please note that the company listed on your Request for Alias Summons, file stamped on January
4, 2019, is not a party to this case. Before your case can be processed further you will need to eFile a new Request
that indicates the correct name of the party who will be served.
® Please take the actions necessary to comply with the Circuit Court Rules and your request will be processed.
❑ The private process server listed is not on our approved list.
❑ Execution in effect. Return date             . Request may be resubmitted within one week prior to return date.
❑ Supreme Court Rule 90.13 requires interrogatories be served with summons of garnishment.

If the filine was a new case, nlease be advised that unless the additional information marked is received within 30
days of the date of this notice this case will be dismissed nursuant to Rule 37.4 for failure to nrosecute without
preiudice, at the Plaintiffs cost. Collection efforts will be uursued for these costs.
Please refer to the Court's website at www.16thcircuit.org for Court Rules or Forms.
Copies electronic noticed, faxed, emailed and/or mailed JANUARY 10, 2019 to:
                                                                   COURT ADMINISTRATOR'S OFFICE
                                                                   DEPARTMENT OF CIVIL RECORDS
                                                             CIRCUIT COURT OF JACKSON COUNTY, MISSOURI

             JANUARY 10, 2019                               By
                  Date                                                     Peggy Ho ey, 816-881-649
                                                                           Deputy Court Administrator
                                                                    ® 415 East 12th St., Kansas City, Missouri 64106
                                                                    ❑ 308 W. Kansas, Independence, Missouri 64050




Case no. 1816-CV 19883                                    Page 1 of 1                                              DMSLCI5 (8/2014)
                Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 31 of 33
   IN THE 16TH JUDICIAL CIRCUIT COURT OF JACKSON COUNTY,IVIISSOURI
                            AT KANSAS CITY

MCKENZI TAYLOR, ind'avidually and
on behalf of all others similarly situated,

                          Plaintiff,                 Case No.: 1816-CV19883

vim
                                                     D'ivision: 14
 KC VIN, LLC
 d/b/a PIZZA BAR

                          I)efendant.


                            R
                            _EQUEST FOR ALIAS SUMMONS

TO: CLERK OF THE COURT

       Plaintiff requests that the Clerk of the Court issue an alias summons for Defendant in the

above-captioned cause of action, so that the Cole County Sheriff s Office can serve Defendant's

Registered Agent as follows:


       KC VIN, LLC
       R/A: CSC-Lawyers Incorporating Service Company
       221 Bolivar Street
       Jefferson City, MO 65101




      Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 32 of 33
Dated: January 10, 2018                             Respectfully submitted,

                                                     /s/ Bill Kennev
                                                    William C. Kenney Mo. Bar No. 63001
                                                    BILL KENNEY LAW FIRM, LLC
                                                    1100 Main Street, Suite 1800
                                                    Kansas City, MO 64105
                                                    Telephone: (816) 842-2455
                                                    Facsimile: (816) 474-8899
                                                    Email: bkenney@billkenneylaw.com
                                                    Attorneys for Plaintiff and all others
                                                    similarly situated


                                CERTIFICATE OF SERVICE

       I hereby certify that, on January 10, 2019, the foregoing document was electronically filed

with the Court's Electronic Filing System and will be served electronically on all registered

attorneys of record, with a copy to be served on Defendant's registered agent with the summons

and all pleadings.

                                                     /s/ Bill Kenney
                                                    William C. Kenney




                                                2

      Case 4:19-cv-00110-DGK Document 1-1 Filed 02/14/19 Page 33 of 33
